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                                                                  May 19, 2023
VIA ECF
Honorable Michael A. Hammer
United States District Court for the
  District of New Jersey
Martin Luther King Courthouse
50 Walnut Street Room 2C
Newark, NJ 07101

       Re:     United States v. Matthew Goettsche, et al., 19-CR-877 (CCC)
               Proposed Modification of Pretrial Release Order

Dear Judge Hammer:

        Please accept this letter in lieu of a more formal motion on behalf of Defendant Matthew
Goettsche. We respectfully move to modify his bail conditions to allow him to attend the
birthday party of his son at a local venue on May 30, 2023. The time and location of the party
shall be disclosed to and approved by Pretrial Services. Mr. Goettsche will be accompanied by a
third-party custodian at the birthday party.

       The Court’s Order Setting Conditions of Release (dkt. 171) requires Mr. Goettsche to
remain under home incarceration and that he “shall remain in the presence of a third-party
custodian at all times unless otherwise approved by Pretrial Services.” The Court previously
approved other proposed consent bail modifications to these conditions (dkts 187, 193, 225, 229,
251, 257, 270 and 281). The Court previously denied a motion to modify bail conditions (dkt.
268).

     Pretrial Services has no objection to this proposed request. The government, through
AUSA Jamie Hoxie, defers to Pretrial Services. Thank you in advance.

                                                           Respectfully submitted,

                                                           /s/

                                                           Rodney Villazor, Esq.
                                                           CLARK SMITH VILLAZOR LLP
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Addressee
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cc:   Matthew Menchel, Esq.
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      U.S. Pretrial Services Officer Barbara Hutchingson (via e-mail)
      U.S. Pretrial Services Officer Troy Ruplinger (via e-mail)
